                         United States District Court
                       Western District of North Carolina
                              Charlotte Division

            Joseph Sims,              )              JUDGMENT IN CASE
                                      )
            Petitioner(s),            )                3:20-cv-00615-RJC
                                      )             3:18-cr-00343-RJC-DCK
                 vs.                  )
                                      )
               USA,                   )
           Respondent(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 22, 2021 Order.

                                               October 22, 2021




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